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 EXHIBIT B
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Reg. No. 5,466,926            Aviator Nation, Inc. (CALIFORNIA CORPORATION)
                              1224 Abbot Kinney Blvd.
Registered May 15, 2018       Venice, CALIFORNIA 90291

                              CLASS 25: Head wear; Pants; Shirts; Shorts; Sweat jackets; Sweat shirts; Sweat suits; T-
Int. Cl.: 25                  shirts; Sweat shirts; T-shirts

Trademark                     FIRST USE 6-29-2016; IN COMMERCE 6-29-2016

Principal Register            The color(s) dark red-orange, light red-orange, orange and yellow is/are claimed as a feature
                              of the mark.

                              The mark consists of a rectangle consisting of horizontal stripes arranged from top to bottom
                              in the colors dark red-orange, light red-orange, orange and yellow.

                              SER. NO. 87-097,430, FILED 07-08-2016




                                                                                                    Exhibit B - Page 1
